                            UNITED STATES DISTRICT
                          COURT EASTERN DISTRICT OF
                           TENNESSEE AT CHATTANOOGA

   UNITED STATES OF AMERICA              )
                                     )
   v.                                    )   1:17-CR-69

   BRANDON HORTON,                       )   Mattice/Lee
                                     )


                          MOTION TO CONTINUE AND FOR
                             NEW SCHEDULING ORDER



        Comes now the Defendant, by and through counsel and moves

  this Honorable Court to continue the trial of this matter and

  resetting the scheduling order in this matter, including setting

  a new plea deadline. As grounds therefore it would be stated

  that the ends of justice served by taking such action outweigh

  the best interest of the public and the defendant in a speedy

  trial. 18 U.S.C. § 3161(h)(7)for the following reasons.

        Counsel for the defendant has          been in contact with the

  Assistant United States Attorney handling this case, Terra Bay

  and has discussed this matter with her.              In conjunction with

  those conversations and pursuant to the court’s order, Ms. Bay

  provided discovery in this matter and is a voluminous. There are

  large   volumes    of    investigative     reports   from   the   relevant

  agencies as well as Pin registers and line sheets referencing

  thousands of telephone calls. Counsel for the defendant has been




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  sorting     through    all    of        discovery      evaluating       his    client’s

  potential     exposure       and    is        making    sure     that    his     client

  understands     and    has    had       the     opportunity      to     question    the

  discovery. Counsel needs more time to complete this process due

  to the voluminous discovery in the case.

        Additionally, counsel for the defendant has been speaking

  speaking with Ms. Bay concerning possible resolutions of this

  matter. Plea negotiations are taking place and a plea agreement

  has been promised by Ms. Bay but has not yet been provided to

  counsel for the defendant to share with his client. Furthermore,

  should the plea agreement be provided in the time frame December

  5,   2017    through     December        8,     2017    it     would    be    virtually

  impossible for counsel to speak with the defendant about it due

  to a murder trial he is involved in, State of Tennessee v.

  Rhasean     Lowery    pending      in    the    Criminal       Court    for    Hamilton

  County,     Tennessee.    For      all    of    these    reasons,       and    because,

  pursuant to 18 U.S.C. § 3161(h)(7), the ends of justice served

  by taking such action outweigh the best interest of the public

  and the defendant in a speedy trial, counsel for the defendant

  would request continuance of this matter.

        Counsel for the defendant is authorized to state that this

  motion for continuance and for new scheduling order is unopposed

  by AUSA Terra Bay.

                                                   Respectfully submitted,



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                                          LUTHER-ANDERSON, PLLP



                                             S/ Daniel J. Ripper      DANIEL J. RI
                                           Attorney for Defendant
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                                           Chattanooga, TN 37401-0151
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  CERTIFICATE OF SERVICE

        I hereby certify that on a copy of the foregoing pleading
   was filed electronically. Notice of this filing will be sent by
   operation of the court’s electronic filing system to all
   parties indicated on the electronic filing receipt. All other
   parties will be served by regular U.S. mail. Parties may access
   this filing through the Clerk’s electronic filing system.



        This 5th day of December, 2017.



                                           LUTHER - ANDERSON, PLLP

                                           BY:   s/Daniel J. Ripper




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